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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                          Alexandria Division




UNITED STATES OF AMERICA,

      Plaintiff/Respondent,
                                        Criminal No. 1:17-cr-137-01
V.                                      Civil No. l:18-cv-1441


MICHAEL EDWARD GUNN,

      Defendant/Petitioner.



                           Memorandum Opinion

      THIS MATTER comes before the Court on Petitioner Michael


Edward Gunn's ("Petitioner") Motion to Vacate his Sentence under

28 U.S.C. § 2255 (Dkt. 161).

      On May 17 2017, Petitioner was charged along with Vanessa

Domingues and Angel Tia Gunn, his wife, with conspiracy to sex

traffic minors, in violation of 18 U.S.C. §§ 1591(a)(1), (b)(2),

(c), 1594(c). On May 19, 2017, a Rule 5 initial hearing was held

during which the Government read in open court the maximum

penalties involved for the alleged crimes, including a maximum

of life imprisonment.

      On June 15, 2017 a grand jury returned a five-count

indictment against the three defendants charging: conspiracy to

engage in sex trafficking of minors, in violation of 18 U.S.C.

§§ 1591(a)(1), (b)(2), (c) and 1594(c) (Count 1); sex
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